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 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Suite 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for STARSHEKA MIXON
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 9
                         IN THE UNITED STATES DISTRICT COURT

10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
     THE UNITED STATES OF AMERICA, ) No. 16-CR-0010 MCE
12                    Plaintiff,       )
                                       ) STIPULATION AND
13
           v.                          ) ORDER
14                                     ) TO CONTINUE STATUS CONFERENCE
                                       ) UNDER SPEEDY TRIAL ACT
15
     DEENA CHAMBERS, and               )
16   STARSHEKA MIXON                   ) Date: February 16, 2017
                      Defendants.      ) Time: 9:00 a.m.
17
     __________________________________) Judge: Hon. Morrison C. England, Jr.
18
                                        STIPULATION
19

20
       1. By previous order, this matter was set for status on January 5, 2017.

21     2. By this stipulation, defendants now move to continue the status conference until
22
          February 16, 2017, and to exclude time between January 5, 2017 and February
23
          16, 2017, under Local Code T4.
24

25     3. The parties agree and stipulate, and request that the Court find the following:
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              a. The government produced over 25,000 pages of discovery associated with
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                 this case, including tax returns, bank and credit card statements,
28




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 1      investigative reports and other documents. The government has also made
 2
        electronic and physical evidence available for review.
 3
     b. Counsel for defendants need additional time to complete their review of
 4

 5      the discovery, conduct further investigation and discuss potential
 6
        resolutions with their clients.
 7
     c. Counsel for defendants believe that failure to grant the above-requested
 8

 9      continuance would deny counsel the reasonable time necessary for

10      effective preparation, taking into account the exercise of due diligence.
11
     d. The government does not object to the continuance.
12

13
     e. Based upon the above-stated facts, the ends of justice served by continuing

14      the case as requested outweigh the interest of the public and the defendant
15
        in a trial within the original date prescribed by the Speedy Trial Act.
16
     f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
17

18      § 3161, et seq., within which trial must commence, the time period of
19
        January 5, 2017, to February 16, 2017, inclusive, is deemed excludable
20
        pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it
21

22      results from a continuance granted by the Court at defendants’ request on

23      the basis of the Court’s finding that the ends of justice served by taking
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        such action outweigh the best interest of the public and the defendant in a
25

26
        speedy trial.

27      THE REMAINDER OF THIS PAGE IS INTENTIONALLY BLANK
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 1      4. Nothing in this stipulation and order shall preclude a finding that other provision
 2
           of the Speedy Trial Act dictate that additional time periods are excludable from
 3

 4
           the period within which a trial must commence.

 5

 6
     IT IS SO STIPULATED.
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 8
     Dated: January 3, 2017                           Respectfully submitted,
 9

10                                                    /s/ Kelly Babineau
                                                      KELLY BABINEAU
11
                                                      Attorney for Starsheka Mixon
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13
     Dated: January 3, 2017                           /s/ Matthew Bockman
14                                                    MATTHEW BOCKMON
                                                      Attorney for Deena Chambers
15

16
     Dated: January 3, 2017                           /s/ Shelley D. Weger
17                                                    SHELLEY D. WEGER
18
                                                      Assistant U.S. Attorney

19
                                             ORDER
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21
           IT IS SO ORDERED.
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23
     Dated: January 4, 2017
24

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